              Case 4:06-cr-40029-JPG                          Document 295 Filed 09/18/07                          Page 1 of 6           Page ID
'%A0 245B     (Rev. 06105) Judgment in a Criminal Case                  #654
              Sheet 1




                       SOUTHERN                                         District of                                         ILLINOIS

         UNITED STATES OF AMERICA                                                    JUDGMENT IN A CRIMINAL CASE
                                  v.
                  TRAVEON LOVING                                                     Case Number:           4:06CR40029-009-JPG

                                                                                     USM Number:            0731 1-025

                                                                                      John M. Delaney

THE DEFENDANT:
dpleaded gullty to count(s)                    1 of the 4th Supersed~nglnd~ctment
                                                                                     Defendant's Anomey
                                                                                                                                            .-     -
                                                                                                                              QL%

  pleaded nolo contendere to count(s)
  which was accepted by the court
   was found guilty on count(s)
   after a plea of not gu~lty

The defendant is adjudicated guilty of these offenses:

Title & Section
                        ..
                                          Nature of Offense                                                              Offense Ended                 Count
                                                                                                                                                         ...
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                                                                                                             .            4/27/2006                ..'.., jsbh...




       The defendant is sentenced as provided in pages 2 though                              10       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                      is        are dismissed on the motion of the United States.

         It 1s ordcred that the defendant mud not~fythe Ln~tedStates attorney tbr t h ~ d~smct
                                                                                           s     within 30 da ,s of any change of name, residence,
or matling address untll all fines, restltutton, costs, and specla1 assessments unposed by th~s~udgmcnt arc fuhy p a ~ d ifordcrrd to pay rcstltuuon,
the defendant must notify the coun and Un~tedStates anomcy of matcnal changes in economc clruumswnses.




                                                                                         J . Phil Gilbert                             District Judge
                                                                                                                                  Title of Judge




                                                                                     Date    '       /
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A 0 2458      (Rev.06/05>     - in Criminal Case
                         . Judement                              #655
              Sheet 2 -Imprisonment


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                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  120 months on Count 1 of the 4th Superseding Indictment,




      17 The court makes the following recommendations to the Bureau of Prisons:




      @ The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:
                at                                     a.m.          p.m.     on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Prebial Services Office.



                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                   , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                            BY
                                                                                                  DEPUTY UNITED STATES MARSHAL
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              Sheet 3 Supervised Release
                                                                                                           Judgment-Page      3     of          10
DEFENDANT: TRAVEON LOVING
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                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :

  5 years on Count 1 of the 4th Superseding Indictment



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall su%mitto one drug test wlthin 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as detemned by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Cbeck, if applicable.)
        The defendant shall not possess a fweaearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Cbeck, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Cbeck, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7) the defendant shall refrain from cxccssi\.e use of alcohol and shall not purchaze, possess, use. d~stnbure,or admlnlster any
      controlled subswncc or any poraphcrnnl~arelated to any controlled substances. except 3s prescr~bcdhy a physlclan;
   8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted pernnssion to do so by the pro%ationofficer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or           histov or charact+stics and shall permit the probafion officer to make such nofificat~onsand to confirm the
           defendant s comphance with such nohficafion requirement.
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           Sheet 3C - ~ u p i r v a e dRelease                  #657
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X The defendant shall participate in mental health treatment, as directed by the probation officer, until such time as the
 defendant is released from the program by the probation officer.

 X While incarcerated, the defendant shall make monthly payments consisting of one-half of the amount of monthly
 deposits into the defendant's inmate trust account, however, if the account balance is less than $20.00, then no payment
 shall be required.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis.
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                Sheet 5 -Criminal Monetary Penalties                                                                #658

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                                                                                     CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                              Assessment                                                                                                          -
                                                                                                                                                  Fine                                                                                     Restitution
 TOTALS                     $ 100.00                                                                                                        $ 200.00                                                                                   $ 0.00



         The determination of restitution is deferred until                                                          -. An Amended Judgment in a Criminal Case(A0 245C) will be entered
         after such determination.

         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         Ifthe defendant nukes a part~alpayment, each pa ee shall receive an approximately ro ort~oncrl aymcnt, unless spscilied othenr~sein
         the Driorltv order or percentage payment columnielow. However, pursuant to 18 l f ~ 6$ .36648). all nonfederal vlcums must be paid
         bef6re the-United States is paid..

 Xame of Pavee                                                                                                                                                                                                  Restitution Ordered                  Prioritv or Percentace
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 TOTALS                                                                 $                                                 0.00                                $                                                             0.00


          Restitution amount ordered pursuant to plea agreement $

          The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          &d the interest requirement is waived for the @ fine                                                                                                restitution
                the interest requirement for the                                                          fine                        restitution is modified as follows:


 * Findings for the total amount of losses are re uiredunder Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 199%.
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           Sheet 6 - Schedule of Payments                       #659

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                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    i$ Lump sum payment of $                               due immediately, balance due

                 not later than                                  ,or
                 in accordance                C,       D,          E, or    IJ F below; or

 B         Payment to begin immediately (may be combined with               C,          D, or     @F below); or
 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    &f Special instructions regarding the payment of criminal monetary penalties:
            While on supe~isedrelease, the defendant shall make monthly payments in the amount of $10.00 or 10% of his
            net monthly income, whichever is greater, toward his fine.




 Unlcsb the soun has expressl ordered otherwisc, if tlus judgment imposes impr~sonmcnt, a ment ofcrlmlnal monctaly penalt~es1s du: dunn
 lrnprlsonnlcnt. All cntmnarmoneta pcnalnes, except those payments made througR tie Federal Bureau of Prisons' Inmate ~lnanclif
 Kespons~bllltyProgram are made to x e clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following coun cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fme interest, (6) community restitution, (7) penalties, and (8) costs, rnclud~ngcost of prosecution and court costs.
